       Case 1:14-cr-00190-DLH            Document 265      Filed 03/04/16      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,            )
                                     )
              Plaintiff,             )       ORDER ADOPTING STIPULATION TO
                                     )       MODIFY CONDITION OF RELEASE
       vs.                           )
                                     )
Montague Scott Helbling,             )       Case No. 1:14-cr-190-5
                                     )
              Defendant.             )

       On March 3, 2016, the parties filed a “Stipulation to Modify Release Conditions.” The court

ADOPTS the parties’ stipulation (Docket No. 264). Defendant’s release shall be subject to the

following conditions:

       (1)    Defendant must not violate federal, state, tribal, or local law while on release.

       (2)    Defendant must advise the Office of Probation and Pretrial Services and defense

              counsel in writing before making any change in address or telephone number.

       (3)    Defendant must appear in court as required and must surrender to serve any sentence

              imposed.

       (4)    Defendant shall report to the Pretrial Services Officer at such times and in such

              manner as designated by the Officer.

       (5)    Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic

              drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

              unless prescribed by a licensed medical practitioner; and any use of inhalants.

              Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

              Services Officer to verify compliance. Failure or refusal to submit to testing or

              tampering with the collection process or specimen may be considered the same as a

                                                1
Case 1:14-cr-00190-DLH         Document 265        Filed 03/04/16      Page 2 of 2




       positive test result.

(6)    Defendant shall not possess a firearm, destructive device, or other dangerous

       weapon.

(7)    Defendant shall submit his person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services

       Officer. Failure to submit to a search may be grounds for revocation of pretrial

       release. Defendant shall notify any other residents that the premises may be subject

       to searches pursuant to this condition.

IT IS SO ORDERED.

Dated this 4th day of March, 2016.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court




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